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 9
     Attorneys for Defendant RAMON DESAGE
10
11
                                 UNITED STATES DISTRICT COURT
12
                                        DISTRICT OF NEVADA
13
14
     UNITED STATES OF AMERICA,           )
15                                       )               Case No.: 2:13-cr-00039-JAD-VCF
           Plaintiff,                    )
16                                       )
17                 vs.                   )
                                         )
18   RAMON DESAGE,                       )
                                         )
19         Defendant.                    )
20   ____________________________________)

21               UNOPPOSED MOTION TO TRAVEL AND PROPOSED ORDER
22          Comes now, Defendant Ramon Desage, by and through his counsel, Richard A. Wright,
23
     Esquire and Richard B. Herman, Esquire, and hereby moves this Court for permission to travel from
24
     Las Vegas, Nevada to Los Angeles, California on February 23, 2015 and returning on February 24,
25
26   2015. Mr. Desage further requests permission to travel to Miami, Florida on February 26, 2015 and

27   returning on February 28, 2015. Defendant will be traveling to Los Angeles for a meeting with an
28   attorney and to Miami for a prospective business venture. While in Los Angeles, Mr. Desage, will
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 1   be staying at the Hyatt Regency Century Plaza, 2025 Avenue of the Stars, Los Angeles, California.
 2
     While in Miami, Mr. Desage will be staying at The Ritz Carlton, South Beach, 1 Lincoln Road,
 3
     Miami Beach, Florida.
 4
            On February 5, 2015, Richard B. Herman, Counsel for Mr. Desage, personally discussed this
 5
 6   request with Pre-Trial Services Officer Jaime Stroup, who advises he consents to this travel request.

 7   Mr. Herman will provide Officer Stroup with Mr. Desage’s travel itinerary and hotel information.
 8
     Mr. Desage will continue with electronic monitoring and will abide by all other bail conditions.
 9
     Upon his return to Las Vegas from Los Angeles on February 24, 2015 and his return from Miami
10
     on February 28, 2015, Mr. Desage will give a courtesy call to Officer Stroup.
11
12          Counsel for Mr. Desage has discussed this request with Assistant United States Attorney

13   Gregory Damm, who has no opposition to it.
14
            DATED this 10th day of February 2015.
15
                                                   Respectfully submitted:
16
17
                                                   BY          /s/ Richard A. Wright
18                                                   RICHARD A. WRIGHT, ESQUIRE
                                                     300 S. Fourth Street
19                                                   Suite 701
20                                                   Las Vegas, NV 89101
                                                    Telephone: (702) 382-4004
21                                                  Attorney for Defendant, Ramon Desage

22
23                                                 BY          /s/ Richard B. Herman
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26                                                   New York, NY 10022
                                                    Telephone: (212) 759-6300
27                                                  Attorney for Defendant, Ramon Desage
28


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 1
 2
                                                 ORDER
 3
            This matter having come before the Court on the unopposed motion of Defendant Ramon
 4
     Desage, and good cause appearing, Defendant’s Motion for Permission to Travel to Los Angeles,
 5
 6   California on February 23, 2015 and returning February 24, 2014, as well as Defendant’s Motion for

 7   Permission to Travel to Miami, Florida on February 26, 2015 and returning on February 28, 2015
 8
     are GRANTED.
 9
10                                                __________________________________________
11                                                HONORABLE PEGGY A. LEEN
                                                  Dated: February 15, 2015
12
13   Respectfully submitted by:
14
     WRIGHT STANISH & WINCKLER
15
         /s/ Richard A. Wright
16   RICHARD A. WRIGHT
17
18   RICHARD B. HERMAN, P.C.
19      /s/ Richard B. Herman
20   RICHARD B. HERMAN

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